Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 1 of 59 PageID 13




                         EXHIBIT 1
6/24/2019                                                                 Details
               Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                     Page 2 of 59 PageID 14




        Case Information

        CC-19-02245-A | JOSE HIGAREDA, MARTHA GONZALEZ, JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF FRIEND
        FOR A MINOR CHILD vs. CALVIN RUTLEDGE, INDIVIDUALLY, TRUCKMOVERS.COM, INC., NORTON TRANSPORT,
        INC..et al

        Case Number                               Court                              Judicial Officer
        CC-19-02245-A                             County Court at Law No. 1          BENSON, D'METRIA
        File Date                                 Case Type                          Case Status
        04/16/2019                                DAMAGES (COLLISION)                OPEN




        Party

        PLAINTIFF                                                                    Active Attorneys 
        HIGAREDA, JOSE                                                               Lead Attorney
                                                                                     MUNCEY, J STEPHEN
                                                                                     Retained




        PLAINTIFF                                                                    Active Attorneys 
        GONZALEZ, MARTHA                                                             Lead Attorney
                                                                                     MUNCEY, J STEPHEN
                                                                                     Retained




        PLAINTIFF                                                                    Active Attorneys 
        JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF FRIEND FOR A MINOR                Lead Attorney
        CHILD                                                                        MUNCEY, J STEPHEN
                                                                                     Retained




        DEFENDANT
        CALVIN RUTLEDGE, INDIVIDUALLY

        Address
        310 JACKSON ROAD
        GOODLETTSVILLE TN 37072


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      1/5
6/24/2019                                                                 Details
               Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                     Page 3 of 59 PageID 15
        DEFENDANT                                                                    Active Attorneys 
        TRUCKMOVERS.COM, INC.                                                        Lead Attorney
        Address                                                                      TURANO, JOSEPH A
                                                                                     Retained
        SERVE REGISTERED AGENT
        L. THOMAS DUVALL
        2310 S. REDWOOD AVENUE
        INDEPENDENCE MO 64057




        DEFENDANT
        NORTON TRANSPORT, INC.

        Address
        SERVE REGISTERED AGENT CALVIN
        50A FIELDSTONE VILLAGE DRIVE
        ROCK SPRING GA 30739




        DEFENDANT
        CARRILLO, YADIRA

        Address
        1709 CURTIS DRIVE
        GARLAND TX 75040




        Events and Hearings


            04/16/2019 NEW CASE FILED (OCA)


            04/16/2019 ORIGINAL PETITION 


            PLAINTIFF S ORIGINAL PETITION & REQUEST FOR DISCLOSURE

              Comment
              PLAINTIFF S ORIGINAL PETITION & REQUEST FOR DISCLOSURE


            04/16/2019 ISSUE CITATION 


            CITATION 2012

            CITATION 2012

              Comment
              ESERVE 33518774


            05/13/2019 CITATION (SERVICE) 


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      2/5
6/24/2019                                                                 Details
                Case Server
            Anticipated 3:19-cv-01493-M        Document 1-3 Filed 06/24/19          Page 4 of 59 PageID 16
            ATTORNEY

            Anticipated Method
            Anticipated Server
            ATTORNEY

            Anticipated Method


            06/05/2019 AMENDED PETITION 


            PLAINTIFFS FIRST AMENDED PETITION & REQUEST FOR DISCLOSURE

              Comment
              & REQUEST FOR DISCLOSURE


            06/05/2019 ISSUE CITATION 


            ISSUE CITATION

              Comment
              ENV#34225024


            06/14/2019 ORIGINAL ANSWER - GENERAL DENIAL 


            DEFENDANT TRUCKMOVERS.COM, INC. ORIGINAL ANSWER

              Comment
              DEFENDANT TRUCKMOVERS.COM, INC. ORIGINAL ANSWER


            06/14/2019 AMENDED PETITION 


            PLAINTIFFS SECOND AMENDED

              Comment
              PLAINTIFFS SECOND AMENDED


            06/17/2019 ISSUE CITATION 


            ISSUE CITATION

            ISSUE CITATION

            ISSUE CITATION

            ISSUE CITATION


            06/19/2019 CITATION (SERVICE) 


            Anticipated Server
            ATTORNEY

            Anticipated Method
            Anticipated Server
            ATTORNEY

            Anticipated Method


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      3/5
6/24/2019                                                                 Details
                 Case Server
             Anticipated 3:19-cv-01493-M       Document 1-3 Filed 06/24/19               Page 5 of 59 PageID 17
             ATTORNEY

             Anticipated Method
             Anticipated Server
             ATTORNEY

             Anticipated Method




        Financial

        HIGAREDA, JOSE
                Total Financial Assessment                                                                       $289.00
                Total Payments and Credits                                                                       $289.00


            4/15/2019    Transaction Assessment                                                                 $285.00

            4/15/2019    CREDIT CARD - TEXFILE (CC)          Receipt # CV-2019-05032       HIGAREDA, JOSE      ($285.00)

            6/4/2019     Transaction Assessment                                                                   $4.00

            6/4/2019     CREDIT CARD - TEXFILE (CC)          Receipt # CV-2019-07555       HIGAREDA, JOSE        ($4.00)
        JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF FRIEND FOR A MINOR CHILD
                Total Financial Assessment                                                                        $16.00
                Total Payments and Credits                                                                        $16.00


            6/16/2019    Transaction Assessment                                                                  $16.00

            6/16/2019    CREDIT CARD - TEXFILE         Receipt # CV-2019-           JOSE HIGAREDA,              ($16.00)
                         (CC)                          08156                        INDIVIDUALLY AND AS NEXT




        Documents


             PLAINTIFF S ORIGINAL PETITION & REQUEST FOR DISCLOSURE
             CITATION 2012

             CITATION 2012

             CITATION 2012
             CITATION 2012

             PLAINTIFFS FIRST AMENDED PETITION & REQUEST FOR DISCLOSURE
             ISSUE CITATION

             DEFENDANT TRUCKMOVERS.COM, INC. ORIGINAL ANSWER
             PLAINTIFFS SECOND AMENDED

             ISSUE CITATION

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                                    4/5
6/24/2019                                                                 Details
               Case
            ISSUE     3:19-cv-01493-M
                  CITATION                     Document 1-3 Filed 06/24/19          Page 6 of 59 PageID 18
            ISSUE CITATION

            ISSUE CITATION




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                      5/5
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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

JOSE HIGAREDA, INDIVIDUALLY AND  §
AS NEXT OF FRIEND FOR C.H. A MINOR
                                 §
(AND AS A BYSTANDER) AND MARTHA  §
GONZALEZ                         §
                                 §                      CIVIL ACTION NO.
     Plaintiffs,                 §
                                 §
v.                               §
                                 §
TRUCKMOVERS.COM, INC., NORTON    §
TRANSPORT, INC., YADIRA CARRILLO §
AND CALVIN RUTLEDGE INDIVIDUALLY §
                                 §
     Defendants.                 §

                   INDEX OF STATE COURT DOCUMENTS

   Exhibit         Date Filed                           Description

     1-1            4/16/19     Plaintiff’s Original Petition & Request for Disclosure

     1-2            4/16/19     Citations issued to Defendants

     1-3            6/05/19     Plaintiff’s First Amended Petition & Request for
                                Disclosure

     1-4            6/05/19     Citation issued to Defendant Rutledge

     1-5            6/14/19     Defendant Truckmovers.com, Inc.’s Original Answer

     1-6            6/14/19     Plaintiffs’ Second Petition & Request for Disclosure

     1-7            6/14/19     Citations issued to Defendants
Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 8 of 59 PageID 20




                       EXHIBIT 1-1
                                                                                                                                         FILED
                                                                                                                                        AM
                                                                                                                             4/16/2019 6:58
                                                                                                                            JOHN   WARREN
                                                                                                                                   F.

       Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                     Page 9 of 59 PageID 21            COUNTY CLERK
                                                        CAUSE N0.              CC-1 9-02245-A                                DALLAS COUNTY


JOSE HIGAREDA                                                      §                  IN    THE COUNTY COURT
                                                                   §


vs.
                                                                   §
                                                                   §
                                                                   §
                                                                                      AT LAW NO.        _
                                                                   §
                                                                   §
TRUCKMOVERS.COM, INC. AND                                          §
CALVIN RUTLEDGE, INDIVIDUALLY                                      §                  DALLAS COUNTY, TEXAS

               PLAINTIFF’S ORIGINAL PETITION                           & REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES N0 W, Jose Higareda (“Plaintiff”) in the above-styled and numbered cause, and makes

and ﬁles   this, his   Original Petition     & Request for Disclosure, complaining 0f Truckmovers.c0m, Inc.                 and


Calvin Rutledge, Individually (hereinafter collectively as “Defendants”), and for causes 0f action would


respectfully   show     this   Court and Jury the following:




                                                                  I.



       Plaintiff,      Jose Higareda    is   a natural person residing Within the State 0f Texas.


       Defendant, Calvin Rutledge (“Rutledge”)               is   a natural person residing at 3 10 Saffron Circle,


Mesquite, Dallas County, Texas 75 149 and as such,                may be       served With process at said address or


anywhere he    may be found Within the           State 0f Texas.


       Defendant, Truckmovers.com,               Inc. is a foreign     corporation doing business within the State of


Texas and therefore       may be    served with process through          its   registered agent: L.   Thomas   Duvall, 23 10 S.


Redwood Avenue, Independence, Missouri 64057.

       Pursuant t0 Rule 190.3 of the Texas Rules of Civil Procedure, discovery in this matter                       is



intended t0 be conducted under level two.




PLAINTIFF’S ORIGINAL PETITION                 & REQUEST FOR DISCLOSURE                -   Page   1
      Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                  Page 10 of 59 PageID 22

                                                           II.



        In accordance With §15.002(a)(2) 0f the Texas Civil Practice                   and Remedies Code, venue          is



proper for   this action in Dallas    County, Texas because       all   0r part 0f the causes 0f action arose in Dallas


county, Texas.     The amount      in controversy for the cause    0f actions stated herein exceed the           minimum

jurisdictional limits   0f the Court.




                                                           III.



        This action arises as a result 0f personal injuries being sustained by Plaintiff 0n and after


06/3 0/17 in Dallas County, Texas, and the resulting losses sustained by                  him 0n   said date   and continuing


into the future.




                                                           IV.


        On 0r about 06/3 0/17,P1aintiff was       driving in a Ford       F150 Pickup Truck        in Dallas County,          Texas


and was attempting      t0 enter   northbound 635 Freeway Via the 0n ramp.               On the same   day, Defendant,


Calvin Rutledge (“Rutledge”) was driving in a northerly direction on 635 Freeway in a 2017 White


International   Truck owned, controlled and/or leased by Defendant, Truckmovers.com,                      Inc.   While    at least



failing t0 control his speed,      Defendant Rutledge negligently struck one or more vehicles traveling in


front 0f him.   As   a direct and proximate result of Defendant Rutledge’s negligence and the above


described impact(s), Defendant Rutledge then lost control of his vehicle and proceeded t0 cross a grassy


embankment thereby       striking Plaintiff’ s vehicle   and ultimately landing 0n top 0f it. As a             direct   and

proximate result 0f Defendants negligence, a serious accident occurred whereby Plaintiff s vehicle was


rendered a total loss and Plaintiff sustained personal injuries            all   0f Which hereby sues to recover.




PLAINTIFF’S ORIGINAL PETITION             & REQUEST FOR DISCLOSURE                 -   Page 2
       Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                        Page 11 of 59 PageID 23

                                                                  V.


                                         DEFENDANT, CALVIN RUTLEDGE

        Plaintiff would        show   this   Court that the negligent acts and omissions 0f Defendant, Calvin


Rutledge and the statutory Violations, as           set out herein, separately          and    collectively,   were a   direct   and


proximate cause 0f the accident in question and the resulting injuries and damages sustained by the


Plaintiff.   The   statutory Violations constitute negligence           M       g. The       Violations, negligent acts    and


omissions     are,   among   others, as follows:


        (a)          Rutledge failed t0 control the speed 0f his vehicle;


        (b)          Rutledge failed t0 maintain a proper lookout;


                     Rutledge failed to operate his vehicle as a person 0f ordinary prudence would have in the
                     same 0r   similar circumstance;


        (d)          Rutledge failed to travel     at a    speed reasonable for the weather and trafﬁc conditions;


        (e)          Rutledge failed t0 give      full attention t0 the    operation 0f his vehicle under the
                     circumstances occurring prior t0 the collision              made    the basis 0f this suit;


        (f)          Rutledge drove his vehicle       at   a greater rate of speed than the speed at which a reasonably
                     prudent person would have driven under the same or similar circumstances in Violation of
                     local ordinances    and TEX. TRANS.        CODE ANN.         §545.35 1;


        (g)          Rutledge failed to maintain an assured clear distance between his vehicle and one or more
                     vehicles traveling in front of him thereby causing                 him   t0 lose control   of his vehicle and
                     ultimately strike the Plaintiff” s vehicle        all in   Violation of TEX.      TRANS. CODE ANN.
                     §545.062;


        (h)          Rutledge failed t0 take evasive action to avoid causing the subject collision;


        (1)          Rutledge drove his vehicle       at the   time and on the occasion in question With heedless and
                     reckless disregard 0f the safety of others,         which disregard was the           result   0f conscious
                     indifference t0 the rights, welfare and safety of those persons affected        by it in Violation 0f
                     the laws of the State of Texas, including TEX.              TRANS. CODE ANN. §545.401; and


        (j)          Other acts of negligence and/or negligence per               se.




PLAINTIFF’S ORIGINAL PETITION                  & REQUEST FOR DISCLOSURE                  -   Page 3
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                                                          VI.


                                     DEFENDANT, TRUCKMOVERS.COM

        The    collision   made   the basis 0f this lawsuit resulted from the improper conduct of Defendant


Calvin Rutledge, an employee 0f Defendant TruckmoversCom. At                       all   times material to this lawsuit,


Defendant Calvin Rutledge was an employee 0f Defendant TruckmoversCom. and was acting Within the


course and scope 0f his employment With Defendant Truckmovers.Com., furthering the business for his


employer. Consequently, Defendant          TruckmoversCom        is   vicariously liable to Plaintiff for the negligent


and/or negligence per se conduct of Defendant Calvin Rutledge under the doctrine 0f respondeat


superior.




                                                          VII.


                                              GROSS NEGLIGENCE

        Plaintiff contends that     0n the occasion   in question,    Defendant Rutledge committed acts 0f


omission and commission, Which are more fully described in the paragraphs                      set forth   above, Which


collectively   and severally constituted gross negligence under Chapter 41 of the Texas Civil Practice and


Remedies Code. Defendant, Rutledge’s conduct, When Viewed obj ectively from the standpoint 0f said

Defendant   at the   time 0f its occurrence, involved an extreme degree 0f risk considering the probability


and magnitude 0f the potential harm        t0 others, including Plaintiff.    Defendant Rutledge had            actual,


subjective awareness 0f the risk involved, but nevertheless proceeded with conscious indifference t0 the


rights, safety or   welfare of others. Consequently, Defendant Rutledge’s conduct constitutes gross


negligence. Such gross negligence        was a proximate cause 0f the occurrence and              the injuries/damages of


the Plaintiff.




PLAINTIFF’S ORIGINAL PETITION             & REQUEST FOR DISCLOSURE             -   Page 4
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                                                            VIII.


                                                        DAMAGES
           As   a result off the collision   made   the basis 0f this lawsuit described in the proceeding


paragraphs and the negligence of Defendants,             Who   at all   times were acting jointly and severally,


Plaintiff,   Jose Higareda sustained severe permanent and/or incapacitating type injuries and damages. His


injuries   and damages     Will, in   reasonable probability, continue in the future. Plaintiff respectfully requests


that the trier    0f fact determine the amount 0f his damages and losses that he has incurred in the past and


will reasonably incur in the future, as well as the         monetary value of these damages, Which include, but

are not limited t0:


                    a.      Physical pain and mental anguish in the past and future;


                    b.      Lost wages in the past;


                    c.      Loss 0f earning capacity;


                    d.      Disﬁgurement;


                    e.      Physical impairment in the past and future;


                    f.      Medical expenses in the past and            future;


                    g.      Out-of—pocket economic losses; and


                    h.      Exemplary damages.

           Because of all of the above and foregoing, Plaintiff has suffered actual damages in


excess 0f the     minimum jurisdictional      limits   of the Court for Which damages Plaintiff now brings            suit.



Plaintiff seeks     monetary relief in excess of $1,000,000.00.

           The medical expenses referenced herein by the           Plaintiff were incurred for necessary care         and


treatment of the injuries resulting from the accident complained 0f above. The charges are reasonable


and were the usual and customary charges made for such services                   in the   county   at   Which they were



PLAINTIFF’S ORIGINAL PETITION                & REQUEST FOR DISCLOSURE             -   Page 5
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rendered.


                                                            IX.


                                      PRESERVATION OF EVIDENCE

       Plaintiff hereby requests     and demands     that   Defendants preserve and maintain      all   evidence


pertaining t0 any claim 0r defense related t0 the incident        made   the basis 0f this lawsuit, 0r the    damages

resulting therefrom, including but not limited to photographs, Videotapes, audiotapes, recordings,


business 0r medical records;     bills;   estimates; invoices; checks; measurements; correspondence;


memoranda;    ﬁles; facsimiles; emails; voicemails; text messages; investigation; cellular telephone


records; calendar entries; and any electronic image, data, 0r information related to Jose Higareda, Calvin


Rutledge, the referenced incident, the vehicles involved in said incident, or any damages resulting


therefrom. Failure t0 maintain such items Will constitute a spoliation of the evidence.




                                                            X.


                                                     INTEREST

       Plaintiff further asserts that pursuant t0 the laws        of the State 0f Texas that he   is   additionally


entitled t0 recover    pre-judgment interest   at the highest legal rate   allowed by law.




                                                            XI.


                                                  JURY DEMAND

       Pursuant t0 Rule 216 of the Texas Rules 0f Civil Procedure, Plaintiff respectfully requests and


demands a   trial   by jury.




PLAINTIFF’S ORIGINAL PETITION             & REQUEST FOR DISCLOSURE           -   Page 6
         Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                     Page 15 of 59 PageID 27

                                                                  XII.


                                              REQUEST FOR DISCLOSURE

          Pursuant t0 Texas Rule 0f Civil Procedure 194(a)-(1), request                       is   made   that   each Defendant


disclose the information described therein, Within ﬁfty (50) days 0f service 0f this request.                              Each

Defendant must serve a written response to these Requests for Disclosure 0n Plaintiff within ﬁfty (50)


days after the service of this request. Failure t0 timely respond shall constitute an abuse 0f discovery


pursuant to Texas Rule 0f Civil Procedure 215.




                                                                  XIII.


                                                      RULE      193.7   NOTICE

          Pursuant t0 Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives actual notice


t0   each Defendant that any and        all   documents produced          may be used against the Defendant producing

the   document   at   any pretrial proceeding and/or           at the trial   0f this matter Without the necessity 0f


authenticating the documents.


                                                               PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff requests and pray that Defendants

Calvin Rutledge and Truckmovers.com,                  Inc.   be cited   to appear    and answer herein and          that   on ﬁnal   trial



hereof, Plaintiff have     judgment from,       0f,   from and against        all   named Defendants, both jointly and

severally and for all     damages sustained       (either actual,       exemplary 0r otherwise), together With costs 0f


suit,   pre—judgment    interest,   post-judgment       interest,   and for such other and further           relief,   both general and


special, at   law or   in equity, t0   Which   Plaintiff is justly entitled,         and for Which he Will ever pray.




PLAINTIFF’S ORIGINAL PETITION                 & REQUEST FOR DISCLOSURE                   -   Page 7
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                                 Respectfully Submitted,


                                 LA W OFFICES 0F J. STEPHENMUNCEY

                                 /s/ J.   Stephen Muncey
                                 J.   Stephen   Muncey
                                 State    Bar Number: 00794346
                                 Email: jsmuncex@aol.com


                                 One Energy Square
                                 4925 Greenville Avenue, Suite 200
                                 Dallas, Texas 75206
                                 (214) 265-0406 (ofﬁce)
                                 (214) 265-0407 (facsimile)


                                 ATTORNEY FOR PLAINTIFF




PLAINTIFF’S ORIGINAL PETITION   & REQUEST FOR DISCLOSURE         -   Page 8
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                        EXHIBIT 1-2
                                  Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                        Page 18 of 59 PageID 30

                                                                                                                                              ATTORNEY
                                   THE STATE OF TEXAS                                                                                         CITATION
                                            CITATION                                                                          PLAINTIFF'S ORIGINAL PETITION         &
                                      CAUSE NO.      CC-19-02245-A
                                                                                                                                   REQUEST FOR DISCLOSURE
                                   COUNTY COURT AT LAW NO.            1                                                                    CC-19-02245-A
                                           Dallas County, Texas
                                                                                                                              IN   THE COUNTY COURT OF DALLAS
TO:                                                                                                                                   County Court Law No. 1
                                                                                                                                                      at
        CALVIN RUTLEDGE, INDIVIDUALLY                                                                                                 Dallas County, Texas
        310 SAFFRON CIRCLE
        MESQUITE TX 75149
                                                                                                                                    JOSE HIGAREDA, Plaintims)

                                                                                                                                                   VS.
      “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you
                                                                                                                                       CALVIN RUTLEDGE,
      were served this citation and PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCLOSURE, a default
                                                                                                                                            INDIVIDUALLY;
      judgment may be taken against you.” Your answer should be addressed to the clerk of County Court at Law No. 1 of
      Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.
                                                                                                                                    TRUCKMOVERSCOM, INC,
                                                                                                                                              Defendant(s)


                                                                                                                              SERVE:
                                                     JOSE HIGAREDA                                                            CALVIN RUTLEDGE, INDIVIDUALLY
                                                        Plaintifﬂs)                                                                 310 SAFFRON CIRCLE
                                                                                                                                     MESQUITE TX 75149
                                                          VS.
                                                                                                                                          ISSUED THIS
                   CALVIN RUTLEDGE, INDIVIDUALLY; TRUCKMOVERS.COM,                            INC.                                   13TH DAY OF MAY, 2019
                                                       Defendant(s)
                                                                                                                               JOHN F. WARREN, COUNTY CLERK
      ﬁled in said Court 0n the 16th day of April, 2019a copy 0f which accompanies   this citation.                               BY: LUPE PEREZ, DEPUTY


      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                          Attorney for Plaintiff

      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 13th day of May, 2019 A.D.                                          J STEPHEN MUNCEY
                                                                                                                              LAW OFFICES OF J STEPHEN MUNCEY
      JOHN F. WARREN,          Dallas County Clerk                                                                                  4925   GREENVILLE AVENUE
                                                                                                                                                SUITE 200
                                                                                                                                           DALLAS TX    75206
       By    ()QWLQ’V‘E)                        ,Deputy                                                                                       214-265-0406
                 pe   Pe'rez



                                                                                                                                   NO OFFIER'S FEES HAVE BEN
                                                                                                                                COUECFED BY DALLAS mUNTY CLERK
                                          Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                               Page 19 of 59 PageID 31

                                                                                           OFFICER’S RETURN

CC-19-02245-A County Court           at   Law No.   1




JOSE HIGAREDA vs. CALVIN RUTLEDGE, INDIVIDUALLY,                                TRUCKMOVERSCOM, INC.

ADDRESS FOR SERVICE:
3 10 SAFFRON CIRCLE
MESQUITE TX 75149

Fees:
Came    to   hand 0n the         day 0f                         ,
                                                                    20          ,
                                                                                    at      o’clock    .m., and executed in              County, Texas by delivering t0 CALVIN
RUTLEDGE, INDIVIDUALLY in person, a true copy 0f this Citation together with the                      accompanying copy of the PLAINTIFF'S ORIGINAL PETITION & REQUEST
FOR DISCLOSURE with the date and service at the following times and places to-Wit:

Name                                                                Date/Time                               Place,   Course and Distance from Courthouse




And not executed as    to the defendant(s),


The diligence used    in   ﬁnding said defendant(s) being:



and the cause or   failure t0 execute this process       is:




and the information received as     t0 the   whereabouts of said defendant(s) being:



                                                        Serving Petition and        Copy       $                                                       ,
                                                                                                                                                           Ofﬁcer

                                                        Total       $                                                                         ,   County, Texas


                                                                                                            By:                                        a   Dequ
                                                                                                                                                       ,
                                                                                                                                                           Afﬁant
                               Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                           Page 20 of 59 PageID 32

                                                                                                                                              ATTORNEY
                                THE STATE OF TEXAS                                                                                            CITATION
                                         CITATION                                                                             PLAINTIFF'S ORIGINAL PETITION              &
                                   CAUSE NO.       CC-19-02245—A
                                                                                                                                   REQUEST FOR DISCLOSURE
                                COUNTY COURT AT LAW NO.              1                                                                     CC-19-02245-A
                                        Dallas County, Texas
                                                                                                                              1N   THE COUNTY COURT OF DALLAS
T0:                                                                                                                                   County Court    at   Law N0.   1

        TRUCKMOVERS.COM, INC.                                                                                                         Dallas County, Texas
        SERVE REGISTERED AGENT
        L THOMAS DUVALL
                                                                                                                                    JOSE HIGAREDA, Plaintiff(s)
        2310 S REDWOOD AVENUE
        INDEPENDENCE MO 64057
                                                                                                                                                   VS.
      “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with
                                                                                                                                       CALVIN RUTLEDGE,
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you
                                                                                                                                            INDIVIDUALLY;
      were served this citation and PLAINTIFF'S ORIGINAL PETITION & REQUEST FOR DISCLOSURE, a default
      judgment may be taken against you.” Your answer should be addressed t0 the clerk 0f County Court at Law No. 1 0f
                                                                                                                                    TRUCKMOVERSCOM, INC,
                                                                                                                                              Defendant(s)
      Dallas County, Texas at the Couﬂ House 0f said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.


                                                                                                                              SERVE:
                                                                                                                                  TRUCKMOVERS.COM, INC.
                                                  J0 SE HIGAREDA                                                                 SERVE REGISTERED AGENT
                                                      Plaintiff(s)                                                                     L   THOMAS DUVALL
                                                                                                                                    2310 S  REDWOOD AVENUE
                                                           VS.                                                                      INDEPENDENCE MO             64057

                   CALVIN RUTLEDGE, INDIVIDUALLY; TRUCKMOVERS.COM,                            INC.                                        ISSUED THIS
                                                     Defendant(s)                                                                    13TH DAY OF MAY, 2019

      ﬁled in said Court on the 16th day of April, 2019a copy of which accompanies   this citation.                            JOHN F. WARREN, COUNTY CLERK
                                                                                                                                  BY: LUPE PEREZ, DEPUTY
      WITNESS: JOHN F. WARREN, Clerk of the County Courts 0f Dallas County, Texas. GIVEN UNDER MY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 13th day of May, 2019 A.D.                                                Attorney for Plaintiff
                                                                                                                                     J STEPHEN MUNCEY
      JOHN F. WARREN        Dallas County Clerk                                                                               LAW OFFICES OF J STEPHEN MUNCEY
                                                                                                                                    4925   GREENVILLE AVENUE
                                                                                                                                                SUITE 200
       By   ()QWQMED
            %upe    Perez
                                              ,   Deputy                                                                                   DALLAS TX    75206
                                                                                                                                              214-265-0406


                                                                                                                                   NO OFFIER'S FEES HAVE BEN
                                                                                                                                COLLECFED BY DALLAS mUNTY CLERK
                                         Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                      Page 21 of 59 PageID 33


                                                                                     OFFICER’S RETURN

CC-19-02245-A County Court          at   Law N0.   1




JOSE HIGAREDA vs. CALVIN RUTLEDGE, INDIVIDUALLY,                              TRUCKMOVERSCOM, INC.

ADDRESS FOR SERVICE:
SERVE REGISTERED AGENT
L THOMAS DUVALL
23 10 S REDWOOD AVENUE
INDEPENDENCE MO 64057

Fees:
Came    t0   hand 0n the            day 0f                      20 ,
                                                                              at,
                                                                                        o’clock     .m., and executed in                   County, Texas by delivering to
TRUCKMOVERSCOM,                INC. in person, a true copy 0f this Citation together With the accompanying copy 0f the PLAINTIFF'S   ORIGINAL PETITION      & REQUEST
FOR DISCLOSURE            with the date and service at the following times and places to-Wit:

Name                                                           Date/Time                         Place,    Course and Distance from Courthouse




And not executed as    to the defendant(s),


The diligence used   in   ﬁnding said defendant(s) being:



and the cause or   failure t0 execute this process      is:




and the information received as    t0 the   whereabouts of said defendant(s) being:



                                                       Serving Petition and   Copy      $                                                     ,
                                                                                                                                                  Ofﬁcer

                                                       Total   $                                                                     ,   County, Texas


                                                                                                     By:                                      ,   Deputy

                                                                                                                                              ,
                                                                                                                                                  Afﬁant
Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 22 of 59 PageID 34




                        EXHIBIT 1-3
                                                                                                                                                       FILED
                                                                                                                                                     AM
                                                                                                                                            6/5/2019 9:50
                                                                                                                                         JOHN   WARREN
                                                                                                                                                F.

         Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                        Page 23 of 59 PageID 35                   COUNTY CLERK
                                                 CAUSE NO.        CC19-02245-A                                                            DALLAS COUNTY


JOSE HIGAREDA AND               MARTHA                                                        IN   THE COUNTY COURT
GONZALEZ

vs.                                                                                           AT LAW NO.                1

                                                                   WWWWWWWWW




TRUCKMOVERS.COM, INC. AND
CALVIN RUTLEDGE, INDIVIDUALLY                                                                 DALLAS COUNTY, TEXAS

           PLAINTIFFS’ FIRST            AMENDED PETITION & REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES N0 W, Jose Higareda and Martha Gonzalez (collectively as “Plaintiffs”) in the above-

styled   and numbered cause, and make and ﬁle             this, their First              Amended Petition           & Request for
Disclosure, complaining 0f Truckmovers.com, Inc. and Calvin Rutledge, Individually (hereinafter


collectively as “Defendants”),       and for causes of action would respectfully show                           this   Court and Jury the


following:




                                                                  I.



          Plaintiff,   Jose Higareda   is   a natural person residing Within the State 0f Texas.


          Plaintiff,   Martha Gonzalez      is   a natural person residing Within the State of Texas.


          Defendant, Calvin Rutledge (“Rutledge”)            is   a natural person residing at 3 10 Saffron Circle,


Mesquite, Dallas County, Texas 75 149 and as such,                may be               served with process at said address 0r


anywhere he     may be found Within the           State of Texas.


          Defendant, Truckmoverscom,              Inc. is a foreign            corporation doing business within the State of


Texas and therefore       may be   served with process through                   its   registered agent: L.     Thomas      Duvall, 23 10 S.


Redwood Avenue, Independence, Missouri 64057.



PLAINTIFFS’ FIRST        AMENDED PETITION & REQUEST FOR DISCLOSURE                                   -   Page   l
      Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                              Page 24 of 59 PageID 36

        Pursuant t0 Rule 190.3 of the Texas Rules of Civil Procedure, discovery in this matter                  is



intended to be conducted under level two.


                                                           II.



        In accordance With §15.002(a)(2) of the Texas Civil Practice               and Remedies Code, venue          is



proper for   this action in Dallas    County, Texas because       all   0r part of the causes of action arose in Dallas


county, Texas.     The amount      in controversy for the cause    0f actions stated herein exceed the        minimum

jurisdictional limits   0f the Court.




                                                           III.



        This action arises as a result 0f personal injuries being sustained by the Plaintiffs 0n and after


06/3 0/17 in Dallas County, Texas, and the resulting losses sustained by them 0n said date and continuing


into the future.




                                                           IV.


        On 0r about 06/3 0/17,Plaintiff was       driving in a Ford       F150 Pickup Truck      in Dallas County,        Texas


and was attempting      t0 enter   northbound 635 Freeway Via the 0n ramp.           On the same     day, Defendant,


Calvin Rutledge (“Rutledge”) was driving in a northerly direction on 635 Freeway in a 2017 White


International   Truck owned, controlled and/or leased by Defendant, Truckmovers.com,                   Inc.   While   at least



failing t0 control his speed,      Defendant Rutledge negligently struck one 0r more vehicles traveling in


front of him.   As   a direct and proximate result 0f Defendant Rutledge’s negligence and the above


described impact(s), Defendant Rutledge then lost control 0f his vehicle and proceeded t0 cross a grassy


embankment thereby       striking Plaintiff” s vehicle   and ultimately landing on top 0f it. As a       direct   and


proximate result of Defendants negligence, a serious accident occurred whereby Plaintiff’ s vehicle was




PLAINTIFFS’ FIRST       AMENDED PETITION & REQUEST FOR DISCLOSURE                       -   Page 2
       Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                      Page 25 of 59 PageID 37

rendered a total loss and Plaintiff Jose Higareda and his spouse Martha Gonzalez both sustained personal


injuries all   of which they hereby sue t0 recover.




                                                                   V.


                                          DEFENDANT, CALVIN RUTLEDGE

        Plaintiff would         show   this   Court that the negligent acts and omissions 0f Defendant, Calvin


Rutledge and the statutory Violations, as            set out herein, separately        and   collectively,    were a     direct   and


proximate cause 0f the accident in question and the resulting injuries and damages sustained by the


Plaintiff.   The   statutory Violations constitute negligence            M       g. The   Violations, negligent acts        and


omissions      are,   among   others, as follows:


        (a)           Rutledge failed t0 control the speed 0f his vehicle;


        (b)           Rutledge failed t0 maintain a proper lookout;


                      Rutledge failed to operate his vehicle as a person 0f ordinary prudence would have in the
                      same 0r   similar circumstance;


        (d)           Rutledge failed to travel     at a    speed reasonable for the weather and trafﬁc conditions;


        (e)           Rutledge failed t0 give      full attention t0 the    operation 0f his vehicle under the
                      circumstances occurring prior t0 the collision              made   the basis 0f this suit;


        (f)           Rutledge drove his vehicle       at   a greater rate of speed than the speed at which a reasonably
                      prudent person would have driven under the same or similar circumstances in Violation of
                      local ordinances    and TEX. TRANS.        CODE ANN.         §545.35 1;


        (g)           Rutledge failed to maintain an assured clear distance between his vehicle and one or more
                      vehicles traveling in front of him thereby causing              him   t0 lose control     of his vehicle and
                      ultimately strike the Plaintiff” s vehicle        all in   Violation of TEX.    TRANS. CODE ANN.
                      §545.062;


        (h)           Rutledge failed t0 take evasive action to avoid causing the subject collision;


        (1)           Rutledge drove his vehicle       at the   time and on the occasion in question With heedless and
                      reckless disregard 0f the safety of others,         which disregard was the            result   0f conscious
                      indifference t0 the rights, welfare and safety of those persons affected                   by it   in Violation   0f


PLAINTIFFS’ FIRST          AMENDED PETITION & REQUEST FOR DISCLOSURE                            -   Page 3
      Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                            Page 26 of 59 PageID 38

                  the laws of the State of Texas, including TEX.       TRANS. CODE ANN. §545.401; and


        (j)       Other acts of negligence and/or negligence per        se.




                                                          VI.


                                  DEFENDANT, TRUCKMOVERS.COM, INC.

        The    collision   made   the basis 0f this lawsuit resulted from the improper conduct of Defendant


Calvin Rutledge, an employee of Defendant Truckmovers.com,                Inc.   At   all   times material t0 this lawsuit,


Defendant Calvin Rutledge was an employee of Defendant Truckmovers.com,                            Inc.   and was acting

Within the course and scope of his employment With Defendant Truckmovers.c0m,                             Inc., furthering the



business for his employer. Consequently, Defendant Truckmovers.com, Inc.                      is   vicariously liable t0


Plaintiff for the negligent and/or negligence per se conduct         0f Defendant Calvin Rutledge under the


doctrine 0f respondeat superior.




                                                          VII.


                                              GROSS NEGLIGENCE

        Plaintiff contends that     on the occasion   in question,   Defendant Rutledge committed acts 0f


omission and commission, Which are more fully described in the paragraphs                     set forth     above, Which


collectively   and severally constituted gross negligence under Chapter 41 of the Texas Civil Practice and


Remedies Code. Defendant, Rutledge’s conduct, When Viewed obj ectively from the standpoint of said

Defendant     at the   time of its occurrence, involved an extreme degree of risk considering the probability


and magnitude of the potential harm        t0 others, including Plaintiff.    Defendant Rutledge had              actual,


subj ective awareness 0f the risk involved, but nevertheless proceeded With conscious indifference to the


rights, safety 0r   welfare of others. Consequently, Defendant Rutledge’s conduct constitutes gross




PLAINTIFFS’ FIRST         AMENDED PETITION & REQUEST FOR DISCLOSURE                     -   Page 4
       Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                            Page 27 of 59 PageID 39

negligence. Such gross negligence          was a proximate cause 0f the occurrence and          the injuries/damages of


the Plaintiff.




                                                          VIII.


                                                      DAMAGES
        As    a result off the collision   made   the basis 0f this lawsuit described in the proceeding


paragraphs and the negligence of Defendants,           Who   at all   times were acting jointly and severally, both


Plaintiffs   named herein have    suffered damages.     More    speciﬁcally, Plaintiff, Jose Higareda has sustained


severe permanent and/or incapacitating injuries and damages. His injuries and damages will, in


reasonable probability, continue in the future. Plaintiff respectfully requests that the            trier   of fact


determine the amount 0f his damages and losses that he has incurred in the past and will reasonably


incur in the future, as well as the monetary value of these damages, which include, but are not limited               t0:



                  a.      Physical pain and mental anguish in the past and future;


                  b.      Lost wages in the past;


                  c.      Loss 0f earning capacity;


                  d.      Disﬁgurement;


                  e.      Physical impairment in the past and future;


                  f.      Medical expenses in the past and            future;


                  g.      Out-of—pocket economic losses; and


                  h.      Loss of household services


                  I.      Exemplary damages.




PLAINTIFFS’ FIRST       AMENDED PETITION & REQUEST FOR DISCLOSURE                      -   Page 5
      Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                              Page 28 of 59 PageID 40

       Further, Plaintiff,   Martha Gonzalez, the spouse of Plaintiff, Jose Higareda, has suffered                    loss   0f


household services and loss of consortium damages             all   0f which she hereby sues to recover.


       Because of all of the above and foregoing, Plaintiff has suffered actual damages in


excess 0f the   minimum jurisdictional     limits   0f the Court for which damages Plaintiff now brings                suit.



Plaintiff seeks   monetary relief in excess 0f $1,000,000.00.

        The medical expenses referenced herein by the               Plaintiff were incurred for necessary care         and


treatment of the injuries resulting from the accident complained of above. The charges are reasonable


and were the usual and customary charges made for such services                 in the   county   at   which they were

rendered.


                                                             IX.


                                     PRESERVATION OF EVIDENCE

       Plaintiff hereby requests    and demands       that   Defendants preserve and maintain             all   evidence


pertaining to any claim 0r defense related t0 the incident            made   the basis of this lawsuit, 0r the       damages

resulting therefrom, including but not limited t0 photographs, Videotapes, audiotapes, recordings,


business 0r medical records;    bills;   estimates; invoices; checks; measurements; correspondence;


memoranda;      ﬁles; facsimiles; emails; voicemails; text messages; investigation; cellular telephone


records; calendar entries; and any electronic image, data, 0r information related to Jose Higareda, Calvin


Rutledge, the referenced incident, the vehicles involved in said incident, 0r any damages resulting


therefrom. Failure to maintain such items will constitute a spoliation 0f the evidence.




PLAINTIFFS’ FIRST      AMENDED PETITION & REQUEST FOR DISCLOSURE                          -   Page 6
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                                                           X.


                                                     INTEREST

         Plaintiff further asserts that pursuant t0 the laws      of the State 0f Texas that he        is   additionally


entitled t0 recover     pre-judgment interest   at the highest legal rate   allowed by law.




                                                          XI.


                                                  JURY DEMAND

         Pursuant t0 Rule 216 of the Texas Rules 0f Civil Procedure, Plaintiff respectfully requests and


demands a    trial   by jury.

                                                          XII.


                                          REQUEST FOR DISCLOSURE

         Pursuant t0 Texas Rule 0f Civil Procedure 194(a)-(1), request            is   made    that   each Defendant


disclose the information described therein, Within ﬁfty (50) days 0f service 0f this request.                  Each

Defendant must serve a written response to these Requests for Disclosure 0n Plaintiff within ﬁfty (50)


days after the service of this request. Failure t0 timely respond shall constitute an abuse 0f discovery


pursuant to Texas Rule 0f Civil Procedure 215.




                                                          XIII.


                                                RULE    193.7   NOTICE

         Pursuant t0 Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives actual notice


t0   each Defendant that any and    all   documents produced      may be used against the Defendant producing

the   document   at   any pretrial proceeding and/or   at the trial   0f this matter Without the necessity 0f


authenticating the documents.




PLAINTIFFS’ FIRST        AMENDED PETITION & REQUEST FOR DISCLOSURE                      -   Page 7
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                                                             PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiffs request and pray that Defendants

Calvin Rutledge and Truckmovers.com,                Inc.   be cited to appear and answer herein and that 0n ﬁnal             trial



hereof, Plaintiffs have judgment from, 0f,              from and against    all   named Defendants, both jointly and

severally and for all     damages sustained         (either actual,   exemplary or otherwise), together With costs 0f


suit,   pre-judgment    interest,   post-judgment       interest,   and for such other and further      relief,   both general and


special, at   law 0r   in equity, t0   which   Plaintiffs are justly entitled,      and   for   which they will ever pray.

                                               Respectfully Submitted,


                                               LAW OFFICES 0F J. STEPHENMUNCEY
                                               /s/ J.   Stephen Muncey
                                               J.   Stephen   Muncey
                                               State    Bar Number: 00794346
                                               Email: jsmuncel@aol.com


                                               One Energy Square
                                               4925 Greenville Avenue, Suite 200
                                               Dallas, Texas 75206
                                               (214) 265-0406 (ofﬁce)
                                               (214) 265-0407 (facsimile)


                                               ATTORNEY FOR PLAINTIFFS




PLAINTIFFS’ FIRST AMENDED PETITION                      & REQUEST FOR DISCLOSURE - Page 8
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                        EXHIBIT 1-4
                                   Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                     Page 32 of 59 PageID 44

                                                                                                                                              ATTORNEY
                                     THE STATE OF TEXAS                                                                                   CITATION
                                               CITATION                                                                                            AMENDED
                                                                                                                                   PLAINTIFFS’ FIRST
                                                                                                                                    PETITION & REQUEST FOR
                                       CAUSE NO. CC-19-02245-A
                                                                                                                                     DISCLOSURE ATTACHED
                                     COUNTY COURT AT LAW NO.             1

                                               Dallas County, Texas                                                                        CC-19-02245-A

TO:                                                                                                                           IN   THE COUNTY COURT OF DALLAS
        CALVIN RUTLEDGE, INDIVIDUALLY                                                                                                 County Court  Law No. 1
                                                                                                                                                      at

        310 SAFFRON CIRCLE                                                                                                             Dallas County, Texas
        MESQUITE TX 75149
                                                                                                                                    JOSE HIGAREDA;         MARTHA
                                                                                                                                       GONZALEZ, Plaintims)
      “You have been      sued.                            If you or your Attorney do not ﬁle a WRITTEN ANSWER with
                                  You may employ an attorney.
      the clerk   who                  by 10:00 A.M. on the Monday next following the expiration of twenty days after you
                        issued this citation                                                                                                       VS.
      were served this citation and PLAINTIFFS’ FIRST AMENDED PETITION & REQUEST FOR DISCLOSURE                                        CALVIN RUTLEDGE,
      ATTACHED, a default judgment may be taken against you.” Your answer should be addressed to the clerk of County                        INDIVIDUALLY;
      Court at Law No. 1 of Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas,         TRUCKMOVERSCOM, INC.,
      Texas 75202.                                                                                                                            Defen dant(s)


                                                                                                                              SERVE:
                                       JOSE HIGAREDA;         MARTHA GONZALEZ                                                 CALVIN RUTLEDGE, INDIVIDUALLY
                                                                                                                                    310 SAFFRON CIRCLE
                                                          Plaintiff(s)
                                                                                                                                     MESQUITE TX 75149
                                                              VS.                                                                         ISSUED THIS
                                                                                                                                     10TH DAY OF JUNE, 2019
                     CALVIN RUTLEDGE, INDIVIDUALLY; TRUCKMOVERS.COM, INC.
                                                        Defendant(s)
                                                                                                                               JOHN F. WARREN, COUNTY CLERK
                                                                                                                                 BY: SONYA HARRIS, DEPUTY
      ﬁled in said Court on the 5th day of June, 2019a copy of which accompanies   this citation.

                                                                                                                                           Attorney for Plaintiff
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                     STEPHEN MUNCEY
                                                                                                                                       J
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 10th day of June, 2019 A.D.                                  LAW OFFICES OF J STEPHEN MUNCEY
                                                                                                                                    4925   GREENVILLE AVENUE
      JOHN F. WARREN, Dallas County Clerk
                                                                                                                                                SUITE 200
                                                                                                                                           DALLAS TX    75206
                                                                                                                                              214-265-0406
       By                                            Deputy    5
                                                               ‘
                  Sonya Harris
                                                                                                                               NDOFHMSmHAVEH
                                                                                                                              mwmwwaﬂx
                                  Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                  Page 33 of 59 PageID 45

                                                                         OFFICER’S RETURN

CC-19-02245-A County Court at Law No. 1

JOSE HIGAREDA, MARTHA GONZALEZ vs. CALVIN RUTLEDGE, INDIVIDUALLY, TRUCKMOVERS.COM, INC.

ADDRESS FOR SERVICE:
310 SAFFRON CIRCLE
MESQUITE TX 75149

Fees:
Came to hand on the _____day of ______________, 20________, at _____o’clock _____.m., and executed in _____________ County, Texas by delivering to CALVIN
RUTLEDGE, INDIVIDUALLY in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS’ FIRST AMENDED PETITION &
REQUEST FOR DISCLOSURE ATTACHED with the date and service at the following times and places to-wit:

Name                                                 Date/Time                           Place, Course and Distance from Courthouse

_________________________________________________________________________________________________________________________________

_________________________________________________________________________________________________________________________________

And not executed as to the defendant(s), ______________________________________________________________________________________________________

The diligence used in finding said defendant(s) being:

__________________________________________________________________________________________________________________
and the cause or failure to execute this process is:

__________________________________________________________________________________________________________________
and the information received as to the whereabouts of said defendant(s) being:
_____________________________________________________________________________________________________________

                                             Serving Petition and Copy      $_________   ________________________________, Officer

                                             Total       $_________                      __________________________, County, Texas

                                                                                         By:_____________________________, Deputy

                                                                                         ________________________________, Affiant
Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 34 of 59 PageID 46




                        EXHIBIT 1-5
                                                                                                                                                  FILED
                                                                                                                                      6/14/2019 3:20   PM
                                                                                                                                      JOHN  WARREN
                                                                                                                                             F.

     Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                         Page 35 of 59 PageID 47                  COUNTY CLERK
                                                                                                                                      DALLAS COUNTY



                                                Cause No. CC-19-02245-A

JOSE HIGAREDA                                                           §    IN   THE COUNTY COURT
  Plaintiff,                                                            §
                                                                        §
v.                                                                      §    AT LAW NO.         1


                                                                        §
TRUCKMOVERS.COM,                         INC.   AND                     §
CALVIN RUTLEDGE, INDIVIDUALLY                                           §
  Defendants.                                                           §    DALLAS COUNTY, TEXAS



                                 DEFENDANT TRUCKMOVERS.COM,                                   INC.’S
                                                  ORIGINAL              ANSWER
             COMES NOW, TRUCKMOVERS.COM,                                      |NC.,      and makes and          files   this,   its



Original       Answer      to Plaintiff’s Original Petition,                and   in   support thereof would respectfully

show     the Court as follows:


                                                                  |.




             Subject to such stipulations and admissions as                                  may be made       hereafter, this


Defendant hereby enters a general denial as permitted by Rule 92 of the Texas Rules of

Civil   Procedure and requests that                   Plaintiff   be required           to   prove by a preponderance of

the evidence the charges and allegations which he has                                        made   against this Defendant


and     to   do so before a        jury   composed      of citizens of this            County as    is   required by the laws


and the       Constitution.


                                                                  ||.




             Defendant pleads that any recovery of medical or other healthcare expenses                                          is



limited to the         amount          actually paid or incurred by or                 on behalf of      Plaintiff   pursuant to

Texas        Civil   Practice and        Remedies Code § 41 .0105.




DEFENDANT’S ORIGINAL ANSWER                                                                                               Page   1
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   Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                                                Page 36 of 59 PageID 48


                                                                   |||.




           Defendant invokes the provisions of Texas                                Civil   Practice and         Remedies Code §

18.091 and states that any evidence of loss of earnings, loss of earning capacity or

other pecuniary losses must be presented                                in   the form of a net loss after reduction for


income tax payments or unpaid tax                     liability    pursuant to any federal tax law.

                                                                   IV.


           Pleading further, Defendant denies                      it    is liable    for violation of          any statutes and/or

governmental regulations, as alleged by                     Plaintiff,             and denies       that   it   was   negligent per se


for the following reasons:


           (a)       With respect to Defendant,                         Plaintiff     does not allege any statutes or

governmental regulations that set                 forth     any duty of care separate and apart from the

ordinary duty of care;


           (b)       Defendant         specifically   denies that             it   violated       any statutes or governmental

regulations;       and

           (c)       Any     violation of    a statute or governmental regulation, which Defendant

denies, did not proximately cause any                    damage              to the Plaintiff.


                                                                   V.


           Defendant invokes and pleads the                        limitation         on    liability for       exemplary damages

and standard          of proof as provided by             §§ 41.001-41.008 of the Tex.                           Civ. Prac.    & Rem.

Code. Defendant              specifically   denies that       it    is    jointly    and severally         liable for    any award     of


punitive     damages assessed               against any co-defendants                        in   favor of Plaintiff pursuant to


the provisions of Chapter 41 .006 of the Tex. Civ. Prac.                                    & Rem. Code. The              limits of   any




DEFENDANT’S ORIGINAL ANSWER                                                                                                      Page 2
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such     liability   should be         in   conformance with Tex.   Civ. Prac.       & Rem. Code 41.008 and

this   Defendant        specifically pleads the       cap on exemplary damages contained                    therein.


          WHEREFORE, PREMISES CONSIDERED,                                Defendant prays that judgment be

rendered       in its   favor, that Plaintiff takes nothing        by    this suit   and   that this       Defendant be

allowed to go hence without delay, with the costs expended on                              its   behalf,   and   for   such

other and          further      relief,     general and specific,   legal     and equitable,           to    which      this


Defendant        may be justly         entitled.


                                                         Respectfully submitted,



                                                                             a/W
                                                        JOSEPH   A. TURANO
                                                        State Bar No. 20295200
                                                        ioseph.turano@c|arkhillstrasburqer.com
                                                        MONICA      F.    RAMIREZ
                                                        State Bar No. 24068621
                                                        monica.ramirez@clarkhi||strasburqer.com

                                                        CLARK HILL STRASBURGER
                                                        901 Main Street, Suite 6000
                                                         Dallas,Texas 75202
                                                        (214) 651-4300
                                                        Telecopier: (214) 651-4330

                                                        ATTORNEYS FOR DEFENDANT
                                                        TRUCKMOVERS.COM, INC.




DEFENDANT’S ORIGINAL ANSWER                                                                                        Page 3
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   Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                       Page 38 of 59 PageID 50




                                          CERTIFICATE OF SERVICE

          This    is   to certify that   a true and correct copy of the foregoing instrument has been




                                                                      m
electronically filed          and sent   via electronic mail to Plaintiff’s counsel   on   this 14th   day   of


June,2019.




                                                      JOSEPH    A.   TURANO




DEFENDANT’S ORIGINAL ANSWER                                                                            Page 4
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                        EXHIBIT 1-6
                                                                                                                      FILED
                                                                                                          6/14/2019 4:14 PM
                                                                                                          JOHN F. WARREN
      Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19                Page 40 of 59 PageID 52               COUNTY CLERK
                              CAUSE NO. CC19-02245-A                                                       DALLAS COUNTY


JOSE HIGAREDA, INDIVIDUALLY      §                                  IN THE COUNTY COURT
AND AS NEXT OF FRIEND FOR        §
C.H. A MINOR CHILD (AND AS A     §
BYSTANDER) AND MARTHA GONZALEZ   §
                                 §
vs.                              §                                  AT LAW NO.        1
                                 §
                                 §
                                 §
TRUCKMOVERS.COM, INC., NORTON    §
TRANSPORT, INC., YADIRA CARRILLO §
AND CALVIN RUTLEDGE INDIVIDUALLY §                                  DALLAS COUNTY, TEXAS

                              PLAINTIFFS’ SECOND AMENDED
                           PETITION & REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Jose Higareda, Individually and as Next of Friend for C.H., a Minor Child (and

as a bystander) and Martha Gonzalez (collectively as “Plaintiffs”) in the above-styled and numbered

cause, and make and file this, their Second Amended Petition & Request for Disclosure, complaining of

Truckmovers.com, Inc., Norton Transport, Inc., Yadira Carrillo and Calvin Rutledge, Individually

(hereinafter collectively as “Defendants”), and for causes of action would respectfully show this Court

and Jury the following:



                                                    I.

       Plaintiff, Jose Higareda, Individually and as Next of Friend for C.H. a Minor Child is a natural

person residing within the State of Texas.

       Plaintiff, Martha Gonzalez is a natural person residing within the State of Texas.

       Defendant, Calvin Rutledge (“Rutledge”) is a natural person residing at 310 Jackson Road

Goodlettsville, Tennessee 37072 and as such, may be served with process at said address or anywhere he



PLAINTIFFS’ SECOND AMENDED PETITION & REQUEST FOR DISCLOSURE - Page 1
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may be found within the State of Texas.

       Defendant, Norton Transport, Inc. is a foreign corporation alleged in the alternative, to have been

doing business within the State of Texas at the time of the subject accident and therefore may be served

with process through its registered agent: Calvin Norton at 50A Fieldstone Village Drive, Rock Spring,

Georgia 30739, USA.

       Defendant, Yadira Carrillo is a natural person residing at 1709 Curtis Drive, Garland, Dallas

County, Texas 75040 and as such, may be served with process at said address or anywhere she may be

found within the State of Texas.

       Defendant, Truckmovers.com, Inc. is a foreign corporation doing business within the State of

Texas and therefore may be served with process through its registered agent: L. Thomas Duvall, 2310 S.

Redwood Avenue, Independence, Missouri 64057.

       Pursuant to Rule 190.3 of the Texas Rules of Civil Procedure, discovery in this matter is

intended to be conducted under level two.



                                                    II.

       In accordance with §15.002(a)(2) of the Texas Civil Practice and Remedies Code, venue is

proper for this action in Dallas County, Texas because all or part of the causes of action arose in Dallas

county, Texas and Defendant Yadira Carrillo is a resident of said county. The amount in controversy for

the cause of actions stated herein exceed the minimum jurisdictional limits of the Court.




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                                                     III.

        This action arises as a result of personal injuries being sustained by the Plaintiffs on and after

06/30/17 in Dallas County, Texas, and the resulting losses sustained by them on said date and continuing

into the future.



                                                     IV.

        On or about 06/30/17,Plaintiff was driving in a Ford F150 Pickup Truck in Dallas County, Texas

and was attempting to enter northbound 635 Freeway via the on ramp. On the same day, Defendant,

Calvin Rutledge (“Rutledge”) was driving in a northerly direction on 635 Freeway in a 2017 White

International Truck owned, controlled and/or leased by Defendant, Truckmovers.com, Inc. While at least

failing to control his speed, Defendant Rutledge negligently struck one or more vehicles traveling in

front of him, including but not limited to Defendant Yadira Carrillo’s vehicle. At the time of this impact,

Defendant Carrillo was negligent in failing to at least keep a proper lookout, keep an assured clear

distance and/or take evasive action.

        As a direct and proximate result of Defendants’ negligence and the above described impact(s),

Defendant Rutledge lost control of his vehicle, proceeded to cross a grassy embankment and struck

Plaintiff’s vehicle before ultimately landing on top of it. As a direct and proximate result of Defendants’

negligence, a serious accident occurred whereby Plaintiff’s vehicle was rendered a total loss and Plaintiff

Jose Higareda, individually and as next of friend for C.H. a Minor Child (and as a bystander) as well as

his spouse Martha Gonzalez, sustained personal injuries all of which they hereby sue to recover.




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                                                     V.

                                 DEFENDANT, CALVIN RUTLEDGE

       Plaintiff would show this Court that the negligent acts and omissions of Defendant, Calvin

Rutledge and the statutory violations, as set out herein, separately and collectively, were a direct and

proximate cause of the accident in question and the resulting injuries and damages sustained by the

Plaintiffs. The statutory violations constitute negligence per se. The violations, negligent acts and

omissions are, among others, as follows:

       (a)     Rutledge failed to control the speed of his vehicle;

       (b)     Rutledge failed to maintain a proper lookout;

       ©       Rutledge failed to operate his vehicle as a person of ordinary prudence would have in the
               same or similar circumstance;

       (d)     Rutledge failed to travel at a speed reasonable for the weather and traffic conditions;

       (e)     Rutledge failed to give full attention to the operation of his vehicle under the
               circumstances occurring prior to the collision made the basis of this suit;

       (f)     Rutledge drove his vehicle at a greater rate of speed than the speed at which a reasonably
               prudent person would have driven under the same or similar circumstances in violation of
               local ordinances and TEX. TRANS. CODE ANN. §545.351;

       (g)     Rutledge failed to maintain an assured clear distance between his vehicle and one or more
               vehicles traveling in front of him thereby causing him to lose control of his vehicle and
               ultimately strike the Plaintiff’s vehicle all in violation of TEX. TRANS. CODE ANN.
               §545.062;

       (h)     Rutledge failed to take evasive action to avoid causing the subject collision;

       (I)     Rutledge drove his vehicle at the time and on the occasion in question with heedless and
               reckless disregard of the safety of others, which disregard was the result of conscious
               indifference to the rights, welfare and safety of those persons affected by it in violation of
               the laws of the State of Texas, including TEX. TRANS. CODE ANN. §545.401; and

       (j)     Other acts of negligence and/or negligence per se.




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                                                     VI.

                                 DEFENDANT, YADIRA CARRILLO

       Plaintiff would further show this Court that the negligent acts and/or omissions of Defendant,

Yadira Carrillo and/or the statutory violations, as set out herein, separately and collectively, were a direct

and proximate cause of the accident in question and the resulting injuries and damages sustained by the

Plaintiffs. The statutory violations constitute negligence per se. The violations, negligent acts and

omissions are, among others, as follows:

       (a)     Yadira Carrillo failed to maintain a proper lookout;

       (b)     Yadira Carrillo failed to maintain an assured clear distance;

       ©       Yadira Carrillo failed to take evasive action to avoid causing the subject collision; and

       (d)     Other acts of negligence and/or negligence per se.



                                                    VII.

                            DEFENDANT, TRUCKMOVERS.COM, INC.

       The collision made the basis of this lawsuit resulted from the improper conduct of Defendant

Calvin Rutledge, an employee of Defendant Truckmovers.com, Inc. At all times material to this lawsuit,

Defendant Calvin Rutledge was an employee of Defendant Truckmovers.com, Inc. and was acting

within the course and scope of his employment with Defendant Truckmovers.com, Inc., furthering the

business for his employer. Consequently, Defendant Truckmovers.com, Inc. is vicariously liable to

Plaintiff for the negligent and/or negligence per se conduct of Defendant Calvin Rutledge under the

doctrine of respondeat superior.




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                                                   VIII.

                 DEFENDANT, NORTON TRANSPORT, INC. (ALTERNATIVE)

       In the alternative and in an abundance of caution only, Plaintiffs would allege that the collision

made the basis of this lawsuit resulted from the improper conduct of Defendant Calvin Rutledge, an

employee of Defendant, Norton Transport, Inc. at the time of the accident made the basis of this suit and

was acting within the course and scope of his employment with said alternative Defendant, furthering the

business for his employer. Consequently, Defendant Norton Transport, Inc. is vicariously liable to

Plaintiff for the negligent and/or negligence per se conduct of Defendant Calvin Rutledge under the

doctrine of respondeat superior.


                                                    IX.

                 BYSTANDER CLAIM/DAMAGES-CHRISTOPHER HIGAREDA

       As a proximate result of Defendants’ negligent acts and/or omissions, Christopher Higareda

suffered personal injuries, physical pain and suffering in the past as well as mental anguish as he had

contemporaneous perception of the accident and the severe damages and injuries sustained by his father,

Jose Higareda. More specifically, C.H. will show that he was riding as a passenger in the Ford F150

vehicle with his father at the time the 2017 White International Truck driven by Calvin Rutledge

violently crashed into their vehicle injuring him and his father. Upon impact of this crash, C.H. a Minor

Child immediately began to experience extreme nervousness, shock, physical injury and mental anguish

as a result of the Defendants negligence referenced above.




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                                                      X.

                                          GROSS NEGLIGENCE

        Plaintiff contends that on the occasion in question, Defendant Rutledge committed acts of

omission and commission, which are more fully described in the paragraphs set forth above, which

collectively and severally constituted gross negligence under Chapter 41 of the Texas Civil Practice and

Remedies Code. Defendant, Rutledge’s conduct, when viewed objectively from the standpoint of said

Defendant at the time of its occurrence, involved an extreme degree of risk considering the probability

and magnitude of the potential harm to others, including Plaintiff. Defendant Rutledge had actual,

subjective awareness of the risk involved, but nevertheless proceeded with conscious indifference to the

rights, safety or welfare of others. Consequently, Defendant Rutledge’s conduct constitutes gross

negligence. Such gross negligence was a proximate cause of the occurrence and the injuries/damages of

the Plaintiff.

                                                      XI.

                                                  DAMAGES

        As a result off the collision made the basis of this lawsuit described in the proceeding

paragraphs and the negligence of Defendants, who at all times were acting jointly and severally, both

Plaintiffs named herein have suffered damages. More specifically, Plaintiff, Jose Higareda has sustained

severe permanent and/or incapacitating injuries and damages. His injuries and damages will, in

reasonable probability, continue in the future. Plaintiff respectfully requests that the trier of fact

determine the amount of his damages and losses that he has incurred in the past and will reasonably

incur in the future, as well as the monetary value of these damages, which include, but are not limited to:

                 a.     Physical pain and mental anguish in the past and future;

                 b.     Lost wages in the past;


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               c.     Loss of earning capacity;

               d.     Disfigurement;

               e.     Physical impairment in the past and future;

               f.     Medical expenses in the past and future;

               g.     Out-of-pocket economic losses; and

               h.     Loss of household services

               i.     Exemplary damages.

       Further, Plaintiff, Martha Gonzalez, the spouse of Plaintiff, Jose Higareda, has suffered loss of

household services and loss of consortium damages all of which she hereby sues to recover.

       Further, Plaintiff, Jose Higareda as Next of Friend for C.H. a Minor Child (and as a bystander)

has incurred medical expenses in the past, physical pain and suffering and mental anguish all of which

he hereby sues to recover.

       Because of all of the above and foregoing, Plaintiffs have suffered actual damages in

excess of the minimum jurisdictional limits of the Court for which damages Plaintiffs now bring suit.

Plaintiffs seek monetary relief in excess of $1,000,000.00.

       The medical expenses referenced herein by the Plaintiffs were incurred for necessary care and

treatment of the injuries resulting from the accident complained of above. The charges are reasonable

and were the usual and customary charges made for such services in the county at which they were

rendered.




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                                                    XII.

                                  PRESERVATION OF EVIDENCE

       Plaintiffs hereby request and demand that Defendants preserve and maintain all evidence

pertaining to any claim or defense related to the incident made the basis of this lawsuit, or the damages

resulting therefrom, including but not limited to photographs, videotapes, audiotapes, recordings,

business or medical records; bills; estimates; invoices; checks; measurements; correspondence;

memoranda; files; facsimiles; emails; voicemails; text messages; investigation; cellular telephone

records; calendar entries; and any electronic image, data, or information related to Jose Higareda, Martha

Gonzalez, Yadira Carrillo, Calvin Rutledge, the referenced incident, the vehicles involved in said

incident, or any damages resulting therefrom. Failure to maintain such items will constitute a spoliation

of the evidence.

                                                   XIII.

                                               INTEREST

       Plaintiffs further assert that pursuant to the laws of the State of Texas that they are additionally

entitled to recover pre-judgment interest at the highest legal rate allowed by law.



                                                   XIV.

                                            JURY DEMAND

       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiffs respectfully request and

demand a trial by jury.




PLAINTIFFS’ SECOND AMENDED PETITION & REQUEST FOR DISCLOSURE - Page 9
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                                                      XV.

                                     REQUEST FOR DISCLOSURE

       Pursuant to Texas Rule of Civil Procedure 194(a)-(1), request is made that each Defendant

disclose the information described therein, within fifty (50) days of service of this request. Each

Defendant must serve a written response to these Requests for Disclosure on Plaintiffs within fifty (50)

days after the service of this request. Failure to timely respond shall constitute an abuse of discovery

pursuant to Texas Rule of Civil Procedure 215.



                                                      XVI.

                                          RULE 193.7 NOTICE

       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiffs hereby give actual notice

to each Defendant that any and all documents produced may be used against the Defendant producing

the document at any pretrial proceeding and/or at the trial of this matter without the necessity of

authenticating the documents.

                                                 PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs request and pray that Defendants

Truckmovers.com, Inc., Norton Transport, Inc., Yadira Carrillo and Calvin Rutledge, Individually be

cited to appear and answer herein and that on final trial hereof, Plaintiffs have judgment from, of, from

and against all named Defendants, both jointly and severally and for all damages sustained (either actual,

exemplary or otherwise), together with costs of suit, pre-judgment interest, post-judgment interest, and

for such other and further relief, both general and special, at law or in equity, to which Plaintiffs are

justly entitled, and for which they will ever pray.




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                               Respectfully Submitted,

                               LAW OFFICES OF J. STEPHEN MUNCEY

                               /s/ J. Stephen Muncey
                               J. Stephen Muncey
                               State Bar Number: 00794346
                               Email: jsmuncey@aol.com

                               One Energy Square
                               4925 Greenville Avenue, Suite 200
                               Dallas, Texas 75206
                               (214) 265-0406 (office)
                               (214) 265-0407 (facsimile)

                               ATTORNEY FOR PLAINTIFFS




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                        EXHIBIT 1-7
                                                                  Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 52 of 59 PageID 64


                                                                                                                                                                ATTORNEY
                                      THE STATE OF TEXAS                                                                                                 CITATION
                                                                                                                                                PLAINTIFFS’ SECOND AMENDED
                                               CITATION                                                                                           PETITION & REQUEST FOR
                                        CAUSE NO. CC-19—02245-A                                                                                               DISCLOSURE
                                      COUNTY COURT AT LAW NO.               1

                                              Dallas County, Texas                                                                                           CC-l9-02245-A

T0:                                                                                                                                            IN   THE COUNTY COURT OF DALLAS
          TRUCKMOVERS.COM, INC.                                                                                                                        County Court  Law No. 1
                                                                                                                                                                        at

          SERVE REGISTERED AGENT                                                                                                                        Dallas County, Texas
          L THOMAS DUVALL
          2310 S REDWOOD AVENUE                                                                                                                       JOSE HIGAREDA; MARTHA
          INDEPENDENCE MO 64057                                                                                                                      GONZALEZ; JOSE HIGAREDA,
                                                                                                                                                INDIVIDUALLY AND As NEXT 0F
        “You have been sued. You may employ an attorney. If you 0r your Attorney do not ﬁle a WRITTEN ANSWER with
                                                                                                                                               FRIEND FOR A MINOR CHILD ,(AND
        the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you
                                                                                                                                                  As A BYSTANDER) Plaintims)
        were served this citation and PLAINTIFFS’ SECOND AMENDED PETITION & REQUEST FOR DISCLOSURE, a
        default judgment may be taken against you.” Your answer should be addressed to the clerk 0f County Court at Law No.
                                                                                                                                                                     VS.
        1 0f Dallas County, Texas at the Court House 0f said County, 600 Commerce Street, Suite 101, Dallas, Texas    75202.

                                                                                                                                                         CALVIN RUTLEDGE,
                                                                                                                                                             INDIVIDUALLY;
                                                                                                                                                      TRUCKMOVERS.COM,            INC.;
      JOSE HIGAREDA; MARTHA GONZALEZ; JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF                                                                     NORTON TRANSPORT,            INC.;
                     FRIEND FOR A MINOR CHILD (AND AS A BYSTANDER)                                                                                  YADIRA CARRILLO, Defendant(s)
                                                          Plaintifﬂs)
                                                            VS.
                                                                                                                                               SERVE:
       CALVIN RUTLEDGE, INDIVIDUALLY; TRUCKMOVERS.COM,                                   INC.;    NORTON TRANSPORT,                                  TRUCKMOVERS.COM, INC.
                                 INC.; YADIRA CARRILLO                                                                                               SERVE REGISTERED AGENT
                                                         Defendant(s)                                                                                    L THOMAS DUVALL
        ﬁled   in said   Court on the 14th day of June, 2019a copy of which accompanies this           citation.                                      2310 S REDWOOD AVENUE
                                                                                                                                                      INDEPENDENCE MO 64057
       WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
                                                                                                                                                            ISSUED THIS
       HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 19th day of June, 2019 A.D.
                                                                                                                                                       19TH DAY OF JUNE, 2019
        JOHN F. WARREN,          Dallas County Clerk
                                                                                                                                                JOHN F. WARREN, COUNTY CLERK
                                                                                                                                                BY: GUISLA HERNANDEZ, DEPUTY
        By     gM/é #MM%Deputy                                                                                                                               Attorney for Plaintiff
                   Guisla Hernandez
                                                                                                                                                        STEPHEN MUNCEY
                                                                                                                                                         J
                                                                                                                                               LAW OFFICES OF J STEPHEN MUNCEY
                                                                                                                                                   4925 GREENVILLE AVENUE
                                                                                                         CC — 19 -02245    —A
                                                                                                         CICI
                                                                                                                                                                  SUITE 200
                                                                                                         ISSUE CITATION                                      DALLAS TX       75206
                                                                                                                                                                2 14-265-0406

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                                                                      Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 53 of 59 PageID 65




                                                                                      OFFICER’S RETURN

CC-l9-02245-A County Court        at   Law No.     1




JOSE HIGAREDA,MARTHA GONZALEZ, JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF FRIEND FOR A MINOR CHILD (AND AS A BYSTANDER)VS.
CALVIN RUTLEDGE, INDIVIDUALLY, TRUCKMOVERSCOM, INC, NORTON TRANSPORT, INC..et a1

ADDRESS FOR SERVICE:
SERVE REGISTERED AGENT
L THOMAS DUVALL
23 10 S REDWOOD AVENUE
INDEPENDENCE MO 64057

Fees:
Came    t0   hand 0n the
                     day 0f                      2O            at ,
                                                                         o’clock,       .m., and executed in                                                 County, Texas by delivering to
TRUCKMOVERSCOM, INC. in person, a true copy of this Citation together with the accompanying copy 0f the PLAINTIFFS’                                    SECOND AMENDED PETITION &
REQUEST FOR DISCLOSURE with the date and service at the following times and places to-wit:

Name                                                          Date/Time                                             Place,    Course and Distance from Courthouse




And   not executed as t0 the defendant(s),


The   diligence used in ﬁnding said defendant(s) being:




and the cause 0r failure t0 execute    this   process   is:




and the information received as t0 the whereabouts 0f said defendant(s) being:



                                                   Serving Petition and     Copy             $                                                                 ,
                                                                                                                                                                   Ofﬁcer

                                                   Total      $                                                                                       ,   County, Texas


                                                                                                                    By:                                        ,   Deputy

                                                                                                                                                               ,
                                                                                                                                                                   Afﬁant
                                                                      Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 54 of 59 PageID 66




                                                                                                                                                                       ATTORNEY
                                       THE STATE OF TEXAS                                                                                                             CITATION
                                                                                                                                                      PLAINTIFFS’ SECOND               AMENDED
                                               CITATION                                                                                            PETITION   & REQUEST FOR DISCLOSURE
                                         CAUSE NO. CC-19-02245-A                                                                                                    CC—l9-02245-A
                                       COUNTY COURT AT LAW NO.                   1


                                               Dallas County, Texas                                                                                  IN   THE COUNTY COURT OF DALLAS
                                                                                                                                                            County Court       at   Law No.   1


                                                                                                                                                                  Dallas County, Texas
TO:
            CALVIN RUTLEDGE, INDIVIDUALLY
                                                                                                                                                    JOSE HIGAREDA; MARTHA GONZALEZ;
            310 JACKSON ROAD
                                                                                                                                                    JOSE HIGAREDA, INDIVIDUALLY AND
            GOODLETTSVILLE, TN 37072                                                                                                                  As NEXT 0F FRIEND FOR A MINOR
                                                                                                                                                       CH1LD(AND As A BYSTANDER),
                                                                                                                                                                       Plaintifﬂs)
        “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with
        the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you                                                VS.
        were served this citation and PLAINTIFFS’ SECOND AMENDED PETITION & REQUEST FOR DISCLOSURE, a
        default judgment may be taken against you.” Your answer should be addressed to the clerk of County Court at Law No.
                                                                                                                                                     CALVIN RUTLEDGE, INDIVIDUALLY;
        1 of Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.
                                                                                                                                                     TRUCKMOVERS.COM, INC; NORTON
                                                                                                                                                    TRANSPORT, INC; YADIRA CARRILLO,
                                                                                                                                                                      Defendant(s)


                                                                                                                                                   SERVE:
      JOSE HIGAREDA;           MARTHA GONZALEZ; JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF                                                          CALVIN RUTLEDGE, INDIVIDUALLY
                                FRIEND FOR A MINOR CHILD (AND AS A BYSTANDER)                                                                              310 JACKSON ROAD
                                                           Plaintijﬂs)                                                                                 GOODLETTSVILLE, TN 37072
                                                                VS.
                                                                                                                                                                 ISSUED THIS
       CALVIN RUTLEDGE, INDIVIDUALLY; TRUCKMOVERS.COM,                                       INC.;    NORTON TRANSPORT,                                     19TH DAY OF JUNE, 2019
                                 INC.; YADIRA CARRILLO
                                                          Defendant(s)
                                                                                                                                                      JOHN F. WARREN, COUNTY CLERK
                                                                                                                                                      BY: GUISLA HERNANDEZ, DEPUTY
        ﬁled   in said   Court on the 14th day of June, 2019a copy 0f which accompanies              this citation.

                                                                                                                                                                  Attorney for Plaintiff
       WITNESS: JOHN F. WARREN, Clerk of the County Courts 0f Dallas County, Texas. GIVEN UNDER MY                                                           STEPHEN MUNCEY
                                                                                                                                                              J
       HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 19th day of June, 20 19 AD.                                                       LAW OFFICES OF J STEPHEN MUNCEY
                                                                                                                                                        4925 GREENVILLE AVENUE
       JOHN F. WARREN,           Dallas County Clerk                                                                                                                   SUITE 200
                                                                                                                                                                  DALLAS TX   75206

        Bﬂm/da #mmﬂéﬂ
                                                                                                                                                                    2 14—265-0406
                                                   9   Deputy
                  Guisla Hernandez


                                                                                                        CC—19—02245-A
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                                                                            Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 55 of 59 PageID 67




                                                                                            OFFICER’S RETURN
CC—19-02245-A County Court        at   Law No.     l




JOSE HIGAREDA,MARTHA GONZALEZ, JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF FRIEND FOR A MINOR CHILD(AND AS A BYSTANDER) vs.
CALVIN RUTLEDGE, INDIVIDUALLY, TRUCKMOVERSCOM, INC, NORTON TRANSPORT, INC..et a1

ADDRESS FOR SERVICE:
3 10 JACKSON ROAD

GOODLETTSVILLE, TN 37072
Fees:
Came    t0   hand 0n the      day 0f                            ,
                                                                    20           ,
                                                                                     at      “o’clock            .m.,   and executed       in                     County, Texas by delivering to   CALVIN
RUTLEDGE, INDIVIDUALLY in person, a true                      copy 0f    this Citation together        with the accompanying copy 0f the                 PLAINTIFFS’       SECOND AMENDED PETITION &
REQUEST FOR DISCLOSURE with the date and                      service at the following times and places to-wit:


Name                                                                Date/Time                                             Place,   Course and Distance from Courthouse




And   not executed as t0 the defendant(s),


The   diligence used in ﬁnding said defendant(s) being:




and the cause 0r failure t0 execute    this   process   is:




and the information received as t0 the whereabouts 0f said defendant(s) being:




                                                   Serving Petition and              Copy          $                                                                             ,
                                                                                                                                                                                     Ofﬁcer

                                                   Total            $        W                                                                                         ,   County, Texas


                                                                                                                          By:                                                   _,
                                                                                                                                                                                     Deputy

                                                                                                                                                                                ,
                                                                                                                                                                                     Afﬁant
                                                                   Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 56 of 59 PageID 68


                                                                                                                                                                ATTORNEY
                                        THE STATE OF TEXAS                                                                                                CITATION
                                                CITATION                                                                                         PLAINTIFFS’ SECOND AMENDED
                                          CAUSE NO.    CC-19-02245-A                                                                               PETITION & REQUEST FOR
                                        COUNTY COURT AT-LAW NO.              1
                                                                                                                                                                DISCLOSURE
                                               Dallas County, Texas                                                                                           CC-19-02245-A

TO:                                                                                                                                              IN   THE COUNTY COURT OF DALLAS
          YADIRA CARRILLO                                                                                                                               County Court  Law No. 1
                                                                                                                                                                        at
          1709 CURTIS DRIVE
                                                                                                                                                         Dallas County, Texas
          GARLAND TX 75040
                                                                                                                                                       JOSE HIGAREDA; MARTHA
        “You have been sued. You may employ an attorney. If you 0r your Attorney d0 not ﬁle a WRITTEN ANSWER with                                     GONZALEZ; JOSE HIGAREDA,
        the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration 0f twenty days after you
                                                                                                                                                 INDIVIDUALLY AND As NEXT 0F
        were served this citation and PLAINTIFFS’ SECOND AMENDED PETITION & REQUEST FOR DISCLOSURE, a
                                                                                                                                                 FRIEND FOR A MINOR CHILD(AND
        default judgment may be taken against you.” Your answer should be addressed to the clerk of County Court at Law No.
                                                                                                                                                   As A BYSTANDER), Plaintifﬂs)
        1 of Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 10 1, Dallas, Texas  75202.
                                                                                                                                                                      VS.

                                                                                                                                                          CALVIN RUTLEDGE,
      JOSE HIGAREDA;           MARTHA GONZALEZ; JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF                                                                    INDIVIDUALLY;
                                FRIEND FOR A MINOR CHILD(AND AS A BYSTANDER)                                                                           TRUCKMOVERS.COM,              INC.;

                                                          Plaintiff(s)
                                                                                                                                                      NORTON TRANSPORT,              INC.;

                                                             VS.
                                                                                                                                                  YADIRA CARRILLO, Defendant(s)

       CALVIN RUTLEDGE, INDIVIDUALLY; TRUCKMOVERS.COM,                                    INC.;    NORTON TRANSPORT,                            SERVE:
                                 INC.; YADIRA CARRILLO                                                                                                   YADIRA CARRILLO
                                                         Defendant(s)                                                                                    1709 CURTIS DRIVE
        ﬁled   in said   Court on the 14th day of June, 20 19a copy of which accompanies          this citation.                                         GARLAND TX 75040

       WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                                          ISSUED THIS
       HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 19th day 0f June, 2019 AD.                                                           19TH DAY OF JUNE, 2019

       JOHN     F.   WARREN,     Dallas County Clerk                                                                                             JOHN F. WARREN, COUNTY CLERK
                                                                                                                                                 BY: GUISLA HERNANDEZ, DEPUTY

        By     ganja #mautﬁ [)6qu                                                                                                                            Attorney for Plaintiff
                     Guisla Hernandez                                                                                                                    STEPHEN MUNCEY
                                                                                                                                                         J
                                                                                                                                                LAW OFFICES OF J STEPHEN MUNCEY
                                                                                                                                                    4925 GREENVILLE AVENUE
                                                                                                                                                                  SUITE 200
                                                                                                              CC— 19—02245—A                                 DALLAS TX       75206
                                                                                                               CICI                                             2 14-265-0406
                                                                                                               ISSUE CITATION



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                                                                                                                                                        No OFFICERS FEES HAVE             T
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                                                                         Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 57 of 59 PageID 69




                                                                                          OFFICER’S RETURN

CC—l9—02245—A County Court        at   Law No.     1




JOSE HIGAREDA,MARTHA GONZALEZ, JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF FRIEND FOR A MINOR CHILD(AND AS A BYSTANDER) vs.
CALVIN RUTLEDGE, INDIVIDUALLY, TRUCKMOVERSCOM, INC._, NORTON TRANSPORT, INC..et a1

ADDRESS FOR SERVICE:
1709   CURTIS DRIVE
GARLAND TX          75040


Fees:
Came    t0   hand on'the      day of                          ,
                                                                  20          ,
                                                                                  at        o’clock           .m.,   and executed      in                              YADIRA
                                                                                                                                                      County, Texas by delivering t0
CARRILLO in person, a true copy 0f this Citation together with                    the   accompanying copy 0f the            PLAINTIFFS’ SECOND AMENDED PETITION & REQUEST FOR
DISCLOSURE with the date and service at the following times and                   places to—wit:


Name                                                              Date/Time                                            Place,   Course and Distance from Courthouse




And   not executed as t0 the defendant(s),


The   diligence used in ﬁnding said defendant(s) being:




and the cause 0r failure t0 execute    this   process   is:




and the information received as t0 the whereabouts 0f said defendant(s) being:



                                                   Serving Petition and           Copy          $                                                                _,
                                                                                                                                                                      Ofﬁcer

                                                   Total          $                                                                                       County, Texas


                                                                                                                       By:                                       ,    Deputy

                                                                                                                                                                 ,
                                                                                                                                                                      Afﬁant
                                                                   Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19    Page 58 of 59 PageID 70


                                                                                                                                                                      ATTORNEY
                                      THE STATE OF TEXAS                                                                                                       CITATION
                                                                                                                                                      PLAINTIFFS’ SECOND AMENDED
                                               CITATION                                                                                                 PETITION & REQUEST FOR
                                        CAUSE NO. CC-l9-02245-A                                                                                                     DISCLOSURE
                                      COUNTY COURT AT LAW NO.                1

                                              Dallas County, Texas                                                                                                 CC-19-02245-A

TO:                                                                                                                                                  IN   THE COUNTY COURT OF DALLAS
          NORTON TRANSPORT, INC.                                                                                                                             County Court  Law No. 1
                                                                                                                                                                              at

          SERVE REGISTERED AGENT CALVIN NORTON                                                                                                                Dallas County, Texas
          50A FIELDSTONE VILLAGE DRIVE
          ROCK SPRING GA             30739
                                                                                                                                                            JOSE HIGAREDA; MARTHA
                                                                                                                                                           GONZALEZ; JOSE HIGAREDA,
        “You have been sued. You may employ an attorney. If you or your Attorney do not ﬁle a WRITTEN ANSWER with
                                                                                                                                                       INDIVIDUALLY AND AS NEXT OF
        the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you
                                                                                                                                                      FRIEND FOR A MINOR CHILD (AND
        were served this citation and PLAINTIFFS’ SECOND AMENDED PETITION & REQUEST FOR DISCLOSURE, a
                                                                                                                                                         AS A BYSTANDER), Plaintiff(s)
        default judgment may be taken against you.” Your answer should be addressed to the clerk of County Court at Law No.
        1 of Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas    75202.
                                                                                                                                                                           VS.

                                                                                                                                                               CALVIN RUTLEDGE,
                                                                                                                                                                   INDIVIDUALLY;
      JOSE HIGAREDA; MARTHA GONZALEZ; JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF                                                                           TRUCKMOVERSCOM, INC;
                     FRIEND FOR A MINOR CHILD (AND AS A BYSTANDER)                                                                                         NORTON TRANSPORT, INC.;
                                                         Plaintiff(s)
                                                                                                                                                          YADIRA CARRILLO, Defendant(s)
                                                             VS.

       CALVIN RUTLEDGE, INDIVIDUALLY; TRUCKMOVERS.COM,                                    INC.;    NORTON TRANSPORT,                                 SERVE:
                                 INC.; YADIRA CARRILLO                                                                                                     NORTON TRANSPORT, INC.
                                                        Defendant(s)                                                                                       SERVE REGISTERED AGENT
        ﬁled   in said   Court on the 14th day of June, 2019a copy of which accompanies           this citation.                                               CALVIN NORTON
                                                                                                                                                      50A FIELDSTONE VILLAGE DRIVE
       WITNESS: JOHN F. WARREN, Clerk of the County Cburts of Dallas County, Texas. GIVEN UNDER MY
                                                                                                                                                             ROCK SPRING GA           30739

       HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 19th day 0f June, 2019 AD.                                                                      ISSUED THIS
        JOHN F. WARREN,          Dallas County Clerk
                                                                                                                                                             19TH DAY OF JUNE, 2019

                                                                                                                                                      JOHN F. WARREN, COUNTY CLERK
        By     5M4» #WMKé/ﬂ                         Deputy                                                                                            BY: GUISLA HERNANDEZ, DEPUTY
                   Guisla Hernandez
                                                                                                                                                                   Attorney for Plaintiff
                                                                                                                                                              STEPHEN MUNCEY
                                                                                                                                                               J

                                                                                                                                                     LAW OFFICES OF J STEPHEN MUNCEY
                                                                                                         cc—19—02245-A                                   4925 GREENVILLE AVENUE
                                                                                                         CHH                                                            SUITE 200
                                                                                                         ISSUE CITAT|0N
                                                                                                         2107733                                                   DALLAS TX       75206
                                                                                                                                                                      2 14-265—0406

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                                                                                                                                                              NO OFFICER’S FEES HAVE BEEN     r



                                                                                                                                                           COLLKTED BY BALM COUNTY CLEW.
                                                                         Case 3:19-cv-01493-M Document 1-3 Filed 06/24/19   Page 59 of 59 PageID 71




                                                                                           OFFICER’S RETURN

CC-19—02245-A County Court         at   Law No.     1




JOSE HIGAREDA,MARTHA GONZALEZ, JOSE HIGAREDA, INDIVIDUALLY AND AS NEXT OF FRIEND FOR A MINOR CHILD (AND AS A BYSTANDER) vs.
CALVIN RUTLEDGE, INDIVIDUALLY, TRUCKMOVERSCOM, INC, NORTON TRANSPORT, INC..et a1

ADDRESS FOR SERVICE:
SERVE REGISTERED AGENT CALVIN NORTON
50A FIELDSTONE VILLAGE DRIVE
ROCK SPRING GA             30739


Fees:
Came    t0   hand 0n the   __day of                             20            ,
                                                                                  at         0 ’clock         ..rn   and executed      m                   County, Texas by delivering to   NORTON
TRANSPORT INC in person a true                 copy 0f    this Citation together       with the accompanying copy 0f the            PLAINTIFFS’       SECOND AMENDED PETITION & REQUEST
FOR DISCLOSURE with the date and               service at the following times and places to— wit:


Name                                                            Date/Time                                              Place,    Course and Distance from Courthouse




And   not executed as t0 the defendant(s),


The   diligence used in ﬁnding said defendant(s) being:




and the cause or failure t0 execute     this   process   is:




and the information received as t0 the whereabouts 0f said defendant(s) being:



                                                        Serving Petition and      Copy           $                                                                    ,
                                                                                                                                                                          Ofﬁcer

                                                    Total       $_m                                                                                             County, Texas


                                                                                                                        By:                                           ,   Deputy

                                                                                                                                                                      ,
                                                                                                                                                                          Afﬁant
